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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 572]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
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 1            Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 572). Plaintiffs identified portions of their Notice of

 5   Motion and Motion to Exclude the Expert Testimony of Joshua J. Minkler (“Motion to Exclude”),

 6   certain portions of Exhibit A to the Declaration of Gina Cora in Support of the Motion to Exclude

 7   (the “Cora Declaration”), and Exhibit B to the Cora Declaration (collectively, the “Materials”) as

 8   containing references to documents that Defendants have designated as confidential pursuant to the

 9   Stipulated Protective Order (Dkt. No. 132). Defendants worked with Plaintiffs before filing to

10   narrow the portions of Mr. Minkler’s report, Cora Decl. Exh. A, that need to be sealed, and

11   Defendants have greatly reduced the portions of Mr. Minkler’s deposition transcript, Cora Decl.

12   Exh. B, that require sealing. Defendants provide their positions regarding sealing of these materials

13   below.

14   I.       LEGAL STANDARD

15            Although courts recognize a general right to inspect and copy public records, “access to

16   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

17   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

18   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

19   with a non-dispositive motion” need only show “good cause exists to file the information under

20   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

21   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

22   inquiry is “whether good cause exists to protect the information from being disclosed to the public

23   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

24   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

25   (Hamilton, J.).    Here, the Materials are not filed in connection with a dispositive motion.

26   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

27   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

28   Kamakana, 447 F.3d at 1180.

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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                         Case No. 4:19-cv-07123-PJH
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 1   II.     DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

 2           As an initial matters, Defendants do not contend that any portions of the Motion to Exclude

 3   require sealing. As shown below, however, good cause exists warranting sealing portions of certain

 4   of the remaining Materials identified in Plaintiffs’ Administrative Motion. Accordingly, the Court

 5   should grant Plaintiffs’ Administrative Motion in part and maintain the following Materials under

 6   seal.

 7   The Expert Report of Joshua Minkler (Dkt. 572-4, Exhibit A): Paragraphs 29, 30 and 33

 8           The highlighted portions of the Joshua Minkler’s Expert Report attached to the Cora

 9   Declaration as Exhibit A, paragraphs 29, 30 and 33, contains discussion of material and information

10   that is subject to foreign law restrictions on public disclosure. Defendants received a limited license

11   to disclose this information in this proceeding, but the license requires that Defendants ask the

12   Court to seal it. These documents also contain confidential and competitively sensitive technical

13   information of Defendants, the disclosure of which would put NSO at a competitive disadvantage,

14   which would warrant sealing even absent the foreign law restrictions. See, e.g., Finjan, Inc. v.

15   Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (recognizing “compelling

16   reasons to seal . . . information about the technical operation of the products, financial revenue data,

17   and excerpts from expert depositions [and] expert report[s]”); Transperfect Global, Inc. v.

18   MotionPoint Corp., 2013 WL 706975, at *1 (N.D. Cal. Feb. 26, 2013) (“proprietary information

19   concerning [a party’s] technology and internal business operations” and “descriptions of [a party’s]

20   proprietary technology” warrant sealing); Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co.,

21   2019 WL 11638962, at *1 (D. Nev. June 20, 2019) (finding “[c]ompelling reasons justifying sealing

22   court records generally exist” when such files contain “business information that might harm a

23   litigant’s competitive standing”). Defendants’ sealing request is narrowly tailored and only seeks

24   to seal three paragraphs out of Minkler’s lengthy report.

25   The Expert Report of Joshua Minkler (Dkt. 572-4, Exhibit B): Five Excerpts

26           The following excerpts of Joshua Minkler’s Deposition Transcript attached as Exhibit B to

27   the Cora Declaration should remain under seal: 76:10-13, 116:17-18, 116:21-117:1, 233:5-7, and

28   233:10-20. Those excerpts contain discussion of material and information that is subject to foreign
                                                     2
       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
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 1   law restrictions on public disclosure and should be sealed for the same reasons set forth above with

 2   respect to Mr. Minkler’s Expert Report. The excerpts also contain or make reference to undisclosed

 3   information relating to the Federal Bureau of Investigation (“FBI”) that the FBI has elected to not

 4   produce in response to Freedom of Information Act Requests.

 5          Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

 6   Motion in part and enter the proposed Order filed concurrently herewith sealing the Materials

 7   described above.

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 9    Dated: March 13, 2025                               KING & SPALDING LLP

10                                                        By: /s/ Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
11                                                        AARON S. CRAIG
12                                                        Attorneys for Defendants

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